Case 2:05-CV-02182-BBD-tmp Document 15 Filed 07/05/05 Page 1 034 _-Page|D 16

 

_'; sav
IN THE UNITED STATES DISTRICT COURT w BY "`"" D'q'
FOR THE WESTERN DISTRICT OF TENNESSEE PH s, 13
WESTERN DIVISION AT MEMPHIS 05 JUL _5 '

_ll'l@l#&ld.~(}fl|.f)
Cl£H<. U.S. DlSlF§CT CCUl- l

ROBERT S. BURCH, wm OF ms llng

Plaintiff,
vs. Civil Action No. 05-2182-DP

JURY TRIAL DEMANDED

GILLIAM COMMUNICATIONS, INC.,
WLOK RADIO, INC., and
H. A. GILLIAM, JR.,

Defendants.

 

RULE 16(b) sCHEDULING 0RDER

 

Pursuant to written notice, a scheduling conference was held. Present were Robin H.
Rasrnussen, counsel for Plaintiff and Ed McKenny, counsel for Det`endants. At the conference,
the following dates were established as the final dates for:

INITIAL DISCLOSURES pursuant to F.R.C.P. 26(a)(l): July 21, 2005

JOINING PARTIES: September 7, 2005

AMENDING PLEADINGS: September 7, 2005

INITIAL MOTIONS TO DISMISS: October 9, 2005

COMPLETING ALL DISCOVERY: March 7, 2006

a. DOCUMENT PRODUCTION: March 7, 2006
b. DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: March 7, 2006

c. EXPERT WITNESS DISCLOSURE (Rule 26)

This document entered on the docket she-et?/con£_pl\ance
with F\u|e 53 and/or 79(a) FRCP on

Case 2:05-cV-02182-BBD-tmp Document 15 Filed 07/05/05 Page 2 of 4 Page|D 17

l. DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: January 9, 2006
2. DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT

INFORMATION: February 9, 2006

3. EXPERT WITNESS DEPOSITIONS: March 7, 2006
FILING DISPOSITIVE MOTIONS: April 7, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to last 5 days. The pretrial order
date, pretrial conference date, and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties have not made a decision regarding trial before the magistrate judge.
This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or

extended.

IT IS SO ORDER_ED.

Case 2:05-cV-02182-BBD-tmp Document 15 Filed 07/05/05 Page 3 of 4 Page|D 18

l

TU\M. PHAM ‘
UNITED STATES MAGISTRATE JUDGB

DATE; \j<.)\,<.(j LS` i@m{_"_\

Approved by:

C‘_:’/€,Ez€z,

Robin H. Rasmussen, TN BPR# 16865
Charmiane G. Claxton TN BPR# 18592
Attomey for Plaintiff/ Counter-Defendant
APPERSON, CRUMP & MAXWELL, PLC
6000 Poplar Avenue, Suite 400

Memphis, Tennessee 38119

(901) 756-6300

(901) 757-1296

M/VLL--r/k)fw' f-'&f'

Edward J. McKenney, TN BPR #

Attorney for Defenclants / Counter-Plaintiffs
One Commerce Square, Suite 2700
Memphis, Tennessee 38103

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CV-02182 Was distributed by fax, mail, or direct printing on
July 11, 2005 to the parties listed.

ESSEE

 

Emily B Bjorkman

APPERSON CRUl\/[P & MAXWELL PLC
6000 Poplar Ave

Ste. 400

l\/lemphis7 TN 38119

Robin H. Rasmussen

APPERSON CRUl\/[P & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

1\/1emphis7 TN 38119--397

Edvvard J. McKenney

HARRIS SHELTON HANOVER WALSH7 PLLC.
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103--255

J ames B. Jalenak

HARRIS SHELTON HANOVER WALSH
One Commerce Square

Ste 2700

l\/lemphis7 TN 38103

Charmiane G. Claxton

APPERSON CRUl\/[P & MAXWELL, PLC- Poplar
6000 Poplar Ave.

Ste. 400

1\/1emphis7 TN 38119--397

Honorable Bernice Donald
US DISTRICT COURT

